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l,ll\/[l'l'ED LlABlLITY COMPANY RI:§SOI_.I_.V]`ION

THE UNDERSIGNED, being the l\/Ianaging Member of Commack Plaza, LLC, a
limited liability company organized under the laws of the State of New York, DOES
HEREBY CERTIFY, that at a special meeting of the Board of Directors of said
corporation, duly held on March l9, 2019 at which a quorum of the corporation’s
Directors were present, acting and duly waived notice of the meeting, the following
resolution was duly adopted:

WHEREAS, this limited liability company is generally not paying its debts as
they become due, it is

RESOLVED, that this limited liability company, be and it hereby is authorized to
take such steps as may be necessary to the best interest of the limited liability company
and the general creditors, but not limited to the filing of a petition under Chapter ll of the
Bankruptcy Code, to sign such petitions, affidavits, and plans as may be required in said
proceedings, and it is hereby authorized and empowered to retain the firm of MACCO &
STERN, LLP as their attorneys in this matter.

IN WITNESS WHEREOF, l have signed the certificate and affixed the corporate
seal thereto by order of said Directors.

Dated: lslandia, New York
April 2, 2019

Commack Plaza, L_I,,Cf j

    
   

By: _
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STATE OF NEW YORK )
COUNTY OF SUFFOLK) ss:-

On the 2nd day of April, before me personally came Steve Menexas, to me known
and who being by me duly sworn, did depose and say that he is the Managing l\/lember of
Commack Plaza, LLC, a limited liability company described in and which executed the
foregoing certificate, and that he knows the seal of said limited liability company, that the
seal affixed to said certificate is said limited liability company’s seal; that it was so
affixed by order of the Board of Directors of said limited liability company, and that he

signed his name thereto by like order.

Sworn to before me
this _2' \\ dq\y of April, 2019

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MichaelWo "

Notary Public, State of New York

No. 4761094

Qualified in Suffo]k County
Commission Expires January 31, 2023

